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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


ETNID R. LOPEZ,

      Petitioner,

v.                                           No. 21-cv-11192-AK

NELSON ALVES, Superintendent
MCI Norfolk

      Respondent.



 REPORT AND RECOMMENDATION ON PETITION FOR WRIT OF HABEAS CORPUS

CABELL, U.S.M.J.

I.   INTRODUCTION

     Petitioner Etnid R. Lopez (“Lopez” or “the petitioner”) is

currently serving a life term of incarceration following his state

court conviction for first-degree murder.       He petitions for a writ

of habeas corpus pursuant to 28 U.S.C. § 2254, seeking to vacate

his conviction on various grounds.       The matter has been referred

to this court for a report and recommendation.          For the reasons

discussed below, I find the petitioner’s claims to be without merit

and recommend that the petition be denied.
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II.   RELEVANT BACKGROUND

      The court takes the facts from the Massachusetts Supreme

Judicial Court’s (SJC’) opinion, 1 reserving some facts for later

discussion as appropriate:

      At approximately 11:30 P.M. on June 25, 2010, the
      defendant, his girlfriend Kayla Lawrence, Jared Brown-
      Garnham (Garnham), and Michelle Torrey drove to a
      convenience store in Taunton. The defendant wore a white
      T-shirt, and Garnham wore dark clothing with a blue
      bandana.    Upon arrival, the defendant entered the
      convenience store and Lawrence stood in the parking lot
      with Garnham. While waiting for the defendant, Lawrence
      saw the victim [Tigan Hollingsworth] and exchanged
      heated words with him. Lawrence was familiar with the
      victim and had witnessed him, along with a group of other
      people, “jump” the defendant's brother, Jean Carlos
      Lopez (Jean), a few years earlier. Soon thereafter, the
      defendant came out of the store and, with a knife in his
      hand, began chasing the victim around the parking lot.
      Torrey got out of her vehicle and attempted to restrain
      the defendant, holding him back by his arms, but the
      defendant eventually broke free and continued to chase
      the victim. During this time, Jean and the defendant's
      uncle, Erving Cruz, drove into the parking lot. As Cruz
      got out of the vehicle, he pointed at the victim and
      shouted, “Is that him? Is that him? Get him.” Cruz
      and Jean joined the defendant in chasing the victim
      around the parking lot. The victim then ran out of the
      parking lot and down the street.

      Two   witnesses,    Brittany   Machado   and   Matthew
      D'Alessandro, observed the events at the convenience
      store parking lot as they waited in their vehicle at a
      red light directly across the intersection.       Both

1  In habeas proceedings initiated by a prisoner in state custody, “a
determination of factual issues by the State court should be presumed to be
correct.” 28 U.S.C. § 2254(e)(1). The petitioner has “the burden of rebutting
the presumption of correctness by clear and convincing evidence.” Id. This
presumption of correctness extends to factual findings by state appellate
courts. Rashad v. Walsh, 300 F.3d 27, 35 (1st Cir. 2002). The petitioner does
not challenge the SJC’s factual findings and in any case has not presented clear
and convincing evidence to rebut the presumption that the SJC’s factual findings
are correct.

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     witnessed the victim flee down the street chased by two
     men: one in a white T-shirt, and the other, who had just
     got out of a vehicle in the parking lot, in a black tank
     top and baggy black clothes.    Both witnesses observed
     the chase as they drove parallel to the three men. As
     the witnesses made a left turn into their driveway, the
     victim and his two pursuers almost hit their car.
     D'Alessandro witnessed the three males turn back toward
     the convenience store before turning down a driveway one
     house down the street.

     As Machado parked the car, they both heard the sound of
     the   chain-link   fence   to   their  left   clanging.
     D'Alessandro then saw the victim in his neighbor's back
     yard, illuminated by a motion-activated spotlight,
     followed by the man in the white T-shirt and the man in
     the black tank top.     The two men then attacked the
     victim, holding him and hitting him. As the victim fell
     to the ground, D'Alessandro heard the man in the black
     tank top ask, “Did you get him? Did you get him?” The
     man in the white T-shirt responded, “Yes I got him.”
     The two men then jumped over the fence and fled.

     The victim suffered from thirteen stab wounds, several
     of which penetrated his chest cavity. His cause of death
     was collapsed lungs and massive blood loss.

Commonwealth   v.   Lopez,   151   N.E.3d   367,   372-73   (Mass.    2020)

(footnotes omitted).

     On October 1, 2010, a grand jury returned an indictment

charging Lopez with murder in connection with the stabbing death

of Tigan Hollingsworth.      Lopez was 17 years old at the time of the

murder.   Lopez filed a pretrial motion to suppress statements he

made to police, which the trial court denied.          Subsequently, on

August 13, 2014, a Bristol County Superior Court jury found Lopez

guilty of first-degree murder.




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      Lopez appealed his conviction to the SJC on December 1, 2015.

While the appeal was pending, the SJC granted Lopez leave to file

a motion for a new trial in the superior court.               Lopez filed the

motion, which was denied.            The SJC consolidated Lopez’s direct

appeal with his appeal of the denial of his motion for a new trial,

ultimately affirming the lower court’s rulings.             Lopez, 151 N.E.3d

at 367.     The petitioner timely filed the instant habeas petition

on July 23, 2021.

III. THE HABEAS PETITION

      The petitioner identifies three ways in which the state court

proceedings allegedly violated his constitutional rights:

      (1)   The trial court admitted the petitioner’s statements to

            police into evidence based on an erroneous determination

            that    he   voluntarily    waived    his     Miranda   rights   and

            voluntarily made the statements;

      (2)   The    petitioner’s      trial   counsel    provided    ineffective

            assistance     of   counsel      by   failing     to    investigate

            Garnham’s death, as such an investigation would have

            uncovered exculpatory evidence 2; and

      (3)   The trial court erroneously admitted the out-of-court

            statements     of   an    alleged     joint    venturer,    thereby



2  Specifically, as elaborated below, the petitioner contends that an
investigation into Garnham’s death would have turned up an unbiased witness who
would have testified that Garnham bragged to her about being the one who stabbed
the victim.

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              depriving the petitioner of his right to confront the

              witnesses against him and of due process.

(Dkt. No. 1, Petition, pp. 6-9).

IV.    LEGAL STANDARD

       Under the Anti-Terrorism and Effective Death Penalty Act of

1996 (“AEDPA”), a federal court may only grant habeas relief on

claims that have been adjudicated on the merits, and then only

after the petitioner has exhausted all available state remedies.

28 U.S.C. § 2254(c); see O’Sullivan v. Boerckel, 526 U.S. 838, 845

(1999) (“state prisoners must give the state courts one full

opportunity     to    resolve   any    constitutional    issues”);    see    also

Sanchez v. Roden, 753 F.3d 279, 294 (1st Cir. 2014) (quoting

Casella v. Clemons, 207 F.3d 18, 20 (1st Cir. 2000)) (“A claim

based on federal law is not exhausted unless a petitioner has

‘fairly and recognizably’ presented it to the state courts.”).

Under the AEDPA, habeas relief is only permitted if the previous

adjudication

       (1) resulted in a decision that was contrary to, or
       involved an unreasonable application of, clearly
       established Federal law, as determined by the Supreme
       Court of the Unites States; or (2) resulted in a decision
       that was based on an unreasonable determination of the
       facts in light of the evidence presented in the state
       court proceeding.

28 U.S.C. § 2254(d).         To obtain relief, then, “a state prisoner

must   show    that   the   state     court’s   ruling   on   the   claim   being

presented in federal court was so lacking in justification that

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there was an error well understood and comprehended in existing

law    beyond      any   possibility       for   fairminded   disagreement.”

Harrington v. Richter, 562 U.S. 86, 103 (2011).               “In conducting

habeas review, a federal court is limited to deciding whether a

conviction violated the Constitution, laws, or treaties of the

United States.”      Estelle v. McGuire, 502 U.S. 62, 68 (1991).

V.    DISCUSSION

       1.   Admission of Lopez’s Statements to Police

       At the petitioner’s trial, prosecutors presented a redacted

version of his videotaped interrogation.              Lopez, 151 N.E.3d at

376.    The substance of the petitioner’s statements during the

interrogation was his claim that, “although he chased the victim

around the convenience store parking lot for a short time, he

decided to stop running when the victim left the convenience store

parking lot and continued to run down the street.”               Id. at 376

n.9.   The petitioner, who had unsuccessfully moved to suppress his

statements before the trial, argued to the SJC that the trial court

should not have admitted his statements both because his Miranda

waiver was involuntary and because the statements themselves were

involuntary.       Id. at 376.   The SJC found that the petitioner was

in custody during the interrogation, thus triggering Miranda, but

continued on to find that, under the totality of the circumstances,

the petitioner knowingly and validly waived his Miranda rights and

voluntarily made statements to the police.              Id. at 377-80.    At

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every step, the SJC acknowledged that the petitioner’s age was a

relevant factor.     Id.

       The petitioner now contends that the SJC unreasonably applied

clearly established federal law by only giving “lip service” to

the age factor and “fail[ing] to apply the heightened standard

that governs juvenile interrogation in a meaningful way.”                (Dkt.

No. 13, Petitioner’s Memorandum of Law, p. 18).                The respondent

argues that, consistent with established Supreme Court precedent,

the SJC considered the petitioner’s age but found it outweighed by

other relevant factors.      The respondent has the better argument.

       The Supreme Court has long recognized that juveniles are more

susceptible to police pressure than adults.               See Gallegos v.

Colorado, 370 U.S. 49, 54 (1962); Haley v. State of Ohio, 332 U.S.

596,   599-600   (1948)    (plurality      opinion).     For    this   reason,

determining whether a juvenile validly waived his Miranda rights

requires    an   “evaluation    of   the    juvenile’s   age,     experience,

education, background, and intelligence” as part of the familiar

totality of the circumstances analysis.           Fare v. Michael C., 442

U.S. 707, 725 (1979).        While age is relevant to the analysis,

“[t]his is not to say that a child’s age will be a determinative,

or even a significant, factor in every case.”              J.D.B. v. North

Carolina, 564 U.S. 261, 277 (2011) (discussing age as a factor in

the custody prong of the Miranda analysis); see also Fare, 442

U.S. at 725-26 (“At the same time, th[e totality] approach refrains

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from imposing rigid restraints on police and courts in dealing

with an experienced older juvenile with an extensive prior record

who knowingly and intelligently waives his Fifth Amendment rights

and voluntarily consents to interrogation.”).

      In considering whether the petitioner validly waived his

Miranda rights, the SJC noted that

      [t]he validity of a Miranda waiver depends on the
      totality of the circumstances, including “promises or
      other inducements, conduct of the defendant, the
      defendant’s age, education, intelligence, and emotional
      stability, experience with and in the criminal justice
      system, physical and mental condition, the initiator of
      the discussion of a deal or leniency (whether the
      defendant or the police), and the details of the
      interrogation, including the recitation of Miranda
      warnings.”

Lopez, 151 N.E.3d at 378 (quoting Commonwealth v. Jackson, 731

N.E.2d 1066, 1070 (Mass. 2000)). 3           Turning to the facts of the

case,   the   SJC   explicitly      acknowledged    the    concern     that   the

petitioner’s age may have contributed to an involuntary waiver,

particularly     when   combined     with    the    investigators’      use   of

deceptive     tactics   and   the   fact    that   the    petitioner    was   not

accompanied by an adult. 4       Id. at 379 & n.12.         At the same time,

the SJC noted that


3 The petitioner does not argue that the SJC erred in applying Massachusetts
rather than federal law, and it appears to this court in any case that
Massachusetts law is consistent with federal law on this point.

4 At the time of the interrogation, Massachusetts law only entitled those under
the age of seventeen to the presence of an “interested adult” during police
interrogation.    Lopez, 151 N.E.3d at 379 n.12.       After the petitioner’s
interrogation, the SJC “expanded the interested adult rule to apply to


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      [h]ere, the defendant appeared alert, calm, and
      composed. He indicated that he was in high school and
      demonstrated no difficulty communicating with or
      understanding the officers.    As each of the Miranda
      rights was read to the defendant from a printed form,
      the defendant nodded and responded affirmatively to
      indicate that he understood. The defendant then readily
      signed the form acknowledging that he had been informed
      of and understood his Miranda rights.

Id. at 378-79.        Weighing these competing facts, the SJC agreed

with the trial court “that the defendant gave every indication

that he understood his Miranda rights and voluntarily relinquished

them.”     Id. at 379.      It went on to find that the petitioner’s

statements were voluntary for substantially similar reasons.                Id.

at 380.      This was a reasonable decision based on the evidence

presented,     and   certainly   not   “an   error    well   understood     and

comprehended in existing law beyond any possibility for fairminded

disagreement.”       Harrington, 562 U.S. at 103. 5

      Resisting this conclusion, the petitioner argues that the SJC

improperly minimized his age given the “special care” the Supreme

Court requires when considering the voluntariness of a juvenile’s




seventeen[-]year[-]old individuals on a prospective basis” based on new
legislation. Id. (citing Commonwealth v. Smith, 28 N.E.3d 385, 386, 390 (Mass.
2015).

5 In his reply brief, the petitioner, relying on Miller v. Fenton, 474 U.S. 104,
112, 117-18 (1985), asserts that this court should independently assess whether
the petitioner voluntarily waived his Miranda rights and made statements,
essentially reviewing the SJC’s decision de novo.     The court notes that the
decision in Miller predated the passage of the AEDPA, which enhanced the
deference afforded to state court decisions under 28 U.S.C. § 2254(d), and so
it is likely no longer good law. See Williams v. Cook, No. 1:14-cv-235, 2015
WL 1737276, at *3 (S.D. Ohio Apr. 16, 2015); Saelee v. Mayle, No. C 99-3252 MJJ
PR, 2000 WL 288441, at *12 n.4 (N.D. Cal. Mar. 10, 2000).

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statements.      See Haley, 332 U.S. at 599.                Specifically, the

petitioner contends that,

       instead of using a heightened standard that took into
       account juveniles’ disproportionate vulnerability to the
       pressures of interrogation, . . . the SJC evaluated
       petitioner’s waiver as if he were an adult, ignoring
       modern   developmental   science   and   Supreme   Court
       jurisprudence that children must be protected as they
       are different from adults.

(Dkt. No. 13, p. 21).        This argument fails for multiple reasons.

       First, the petitioner does not identify any Supreme Court

precedent that clearly establishes a “heightened standard” for

evaluating voluntariness as to juveniles, nor is this court aware

of any.     As discussed, age is a (potentially significant) factor

to be considered and weighed in the totality of the circumstances

analysis like any other.         J.D.B., 564 U.S. at 277; Fare, 442 U.S.

at 725.     The inclusion of this factor in the totality of the

circumstances       test   incorporates      the   need   for    “special   care”

articulated in earlier opinions.             See, e.g., Haley, 332 U.S. at

599.    Although age is relevant to the voluntariness inquiry, the

Supreme Court has never held the inquiry takes on a different

character    when    juveniles    are   involved     or   that    a   changed   or

heightened standard applies.

       Second, the petitioner argues that the SJC treated him like

an adult by failing to recognize that deceptive tactics like the

ones investigators employed in his interrogation “exert[] greater

influence on juveniles” than on adults.             (Dkt. No. 13, p. 20).       At

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core, this boils down to arguing that the SJC placed insufficient

weight on the petitioner’s age in weighing the relevant factors.

Again,     the   petitioner     fails        to    persuade     that   the    SJC’s

discretionary decision that he voluntarily waived his Miranda

rights and made statements to the police was so clearly erroneous

that no fair-minded jurist could possibly agree with it.                        See

Harrington, 562 U.S. at 103; see also Yarborough v. Alvarado, 541

U.S. 652, 669 (2004) (O’Connor, J., concurring) (“17 ½-year-olds

vary widely in their reactions to police questioning, and many can

be expected to behave as adults”); Fare, 442 U.S. at 726-27

(finding that 16 ½-year-old juvenile voluntarily and knowingly

waived his Fifth Amendment rights).

     Finally, insofar as the petitioner argues that the SJC erred

by not considering “the science on adolescent brain development on

which the Supreme Court has drawn in providing greater protection

for juveniles,” (Dkt. No. 19, Petitioner’s Reply Brief, p. 2),

this position finds no support in Supreme Court precedent.                      The

Supreme Court has never held that a court must consider cognitive

science or require expert testimony when evaluating whether a

juvenile     voluntarily    waived    his         rights   or   voluntarily    made

statements. 6 In fact, the Court has said the opposite. See J.D.B.,


6 Most of the cases the petitioner cites to demonstrate the Supreme Court’s

emphasis on scientific research into adolescent brain development concern
sentencing and have nothing to do with whether a juvenile voluntarily waived
his rights or made statements. See Miller v. Alabama, 567 U.S. 460 (2012);
Graham v. Florida, 560 U.S. 48 (2009); Roper v. Simmons, 543 U.S. 551 (2005).

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564    U.S.   at   278-80    (“In   short,     officers   and   judges   need    no

imaginative        powers,   knowledge        of   developmental    psychology,

training in cognitive science, or expertise in social and cultural

anthropology to account for a child’s age.                They simply need the

common sense to know that a 7-year-old is not a 13-year-old and

neither is an adult.”).

       In short, the petitioner has failed to demonstrate that the

SJC unreasonably applied federal law in upholding the admission of

his statements.

       2.     Failure to Investigate Garnham’s Death

       The petitioner next argues that his trial counsel provided

ineffective assistance, in violation of his Sixth Amendment right

to    counsel,     by   failing   to   investigate    Garnham’s    death.       The

petitioner contends that an investigation would have uncovered the

existence of an unbiased witness who would testify that Garnham

had told the witness that he was the one who stabbed the victim.

The respondent, siding with the SJC, argues that trial counsel’s

decision not to pursue this investigation was reasonable and that,

in any case, the evidence such an investigation might have revealed

would not likely have changed the outcome of the petitioner’s

trial.

              a.    Garnham’s Death

       The circumstances of Garnham’s death are grisly.                  At some

point following the murder, Garnham left Massachusetts, apparently

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residing in either Pennsylvania or West Virginia.              (Dkt. No. 13-

1, Appendix to Petitioner’s Memorandum, pp. A.118, A.226-27).               In

or about August 2013, Garnham began a romantic relationship with

Ashley Spring (“Spring”).       (Id. at p. A.231).         This relationship

was rocky at best, as Garnham physically abused Spring on multiple

occasions.    (Id.).      During their relationship, Garnham “bragged”

to Spring about stabbing the victim and told her that he cut his

long hair after the murder so that witnesses would not be able to

identify him.    (Id.).

      On December 7, 2013, Spring picked Garnham up at his residence

and drove him to a bus station in Pittsburgh.           (Id. at p. A.118).

Spring’s two children were in the car, including her eight-month-

old baby.    (Id. at pp. A.117-18).         Garnham was to take a bus to

Boston because he was scheduled to testify at the petitioner’s

brother’s trial regarding the murder.         (Id. at p.     A.118).   Enroute

to   the   station   in   Pittsburgh,     Garnham   became   agitated    after

receiving several phone calls. (Id.). After reaching the station,

Garnham decided not to return to Massachusetts, fearing that he

might be held responsible for the murder if he returned.                (Id.).

After Spring stopped at a market on the way back so that she and

her older child could use the restroom, Garnham accused Spring of

calling the police.        (Id.).   Garnham then drove off in Spring’s

car with the younger child still in the back seat.           (Id.).    Shortly

thereafter, police found and pursued Garnham in the stolen vehicle.

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(Id.   at   p.   A.119).      The   pursuit   resulted     in    a   standoff    at

Pittsburgh International Airport, where Garnham drew a knife and

threatened to harm both the eight-month-old child and himself.

(Id. at p. A.131).         An officer shot Garnham in the head, killing

him and apparently saving the child.           (Id. at pp. A.131-32).           The

petitioner contends that his trial counsel would have learned of

Spring and her potentially exculpatory testimony had said counsel

investigated Garnham’s death, and the failure to do so constituted

ineffective assistance.

            b.    Ineffective Assistance Standard

       To   demonstrate      ineffective      assistance        of   counsel,     a

petitioner must show that his representation by counsel (1) “fell

below an objective standard of reasonableness” and (2) that “but

for counsel’s unprofessional errors, the result of the proceeding

would have been different.”          Strickland v. Washington, 466 U.S.

668, 687-88, 694 (1984).        This test creates a high burden for the

petitioner to overcome.        “[C]ounsel is strongly presumed to have

rendered adequate assistance and made all significant decisions in

the exercise of reasonable professional judgment.”                   Id. at 690;

see also Knight v. Spencer, 447 F.3d 6, 15 (1st Cir. 2006) (noting

that petitioner must show his “counsel’s choice was so patently

unreasonable that no competent attorney would have made it”).

       The reasonableness of the attorney’s representation is viewed

“as of the time of counsel’s conduct.”            Strickland, 466 U.S. at

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690.         Judicial    scrutiny      of     counsel’s      representation      and

performance must be “highly deferential,” and the court should

make “every effort . . . to eliminate the distorting effects of

hindsight.”       Bell v. Cone, 535 U.S. 685, 698 (2002) (internal

quotation marks omitted).

       To demonstrate prejudice, a petitioner must show “that there

is a reasonable probability” that, but for the attorney’s deficient

performance,       there   would       have    been     a    different     outcome.

Strickland, 466 U.S. at 694.                A “reasonable probability is one

‘sufficient to undermine confidence in the outcome.’”                    Johnston v.

Mitchell, 871 F.3d 52, 64 (1st Cir. 2017) (quoting González-Soberal

v. United States, 244 F.3d 273, 278 (1st Cir. 2001)).

       For   ineffective       assistance     claims    raised    in     the   habeas

context, “[t]he pivotal question is whether the state court’s

application of the Strickland standard was unreasonable . . .

[which]      is   different     from   asking    whether       defense    counsel’s

performance fell below Strickland’s standard.”                   Harrington, 562

U.S. at 101.         This review is “doubly deferential,” Cullen v.

Pinholster,       563   U.S.    170,    190    (2011)       (quoting   Knowles    v.

Mirzayance, 556 U.S. 111, 123 (2009)), as “federal courts are to

afford ‘both the state court and the defense attorney the benefit

of the doubt.’”         Woods v. Etherton, 578 U.S. 113, 117 (2016)

(quoting Burt v. Titlow, 571 U.S. 12, 15 (2013)).                 A state court’s

decision that a petitioner’s counsel was not constitutionally

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ineffective      “precludes      federal    habeas     relief      so     long     as

‘fairminded jurists could disagree’ on the correctness of the state

court’s   decision.”       Harrington,       562     U.S.    at    101    (quoting

Yarborough, 541 U.S. at 664).          In other words, “the question is

not whether counsel’s actions were reasonable.                 The question is

whether there is any reasonable argument that counsel satisfied

Strickland’s deferential standard.”          Id. at 105.

           c.     Reasonable Performance

     In the first instance, the SJC found that trial counsel’s

decision not to investigate Garnham’s death was not manifestly

unreasonable.      Lopez, 151 N.E.3d at 382.                The SJC noted that

“nothing about the particular circumstances in which Garnham died

suggested a connection between his death and the killing of the

victim”   such    that   trial    counsel    should    have       known   that     an

investigation would likely bear fruit for the petitioner.                        Id.;

see Strickland, 466 U.S. at 691 (“In any ineffectiveness case, a

particular decision not to investigate must be directly assessed

for reasonableness in all the circumstances, applying a heavy

measure of deference to counsel’s judgments.”).                      Indeed, the

petitioner’s trial counsel says as much in his affidavit: “I did

not foresee that the police records [of Garnham’s death] would

contain any information that could potentially exculpate [the

petitioner] in the stabbing.”         (Dkt. No. 13-1, pp. A.236, ¶ 14).

There was no way for counsel to know that Garnham’s bizarre

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kidnapping of an infant and subsequent death at the hands of police

-- more than three years after the murder -- was preceded by

agitating      phone      calls     or   Garnham’s         refusal    to    return      to

Massachusetts and testify.

     To be sure, the petitioner makes much of the timing of

Garnham’s     death,      arguing    that    his     trial    counsel      should      have

recognized the likelihood that Garnham’s death was related to the

murder because it occurred shortly before Garnham was to testify

at the petitioner’s brother’s trial.                   But this one fact hardly

makes it clear that Garnham’s death had anything to do with the

petitioner’s case.         Moreover, Garnham notably had already returned

to Massachusetts once before to testify in Cruz’s trial earlier

that year.      Lopez, 151 N.E.3d at 382.                  The petitioner fails to

explain why his trial counsel should have inferred that Garnham’s

death was a product of his trying to avoid testifying when he had

testified     on    the   same    subject        several    months    before     without

incident.

     Considering the arguments presented and the deference due to

both trial counsel and the state court, see Woods, 578 U.S. at

117, this court agrees with the SJC that the petitioner’s trial

counsel made a reasonable decision not to investigate Garnham’s

death.       More      importantly,      the      SJC’s     decision       was   not     so

unreasonable that all fair-minded jurists would agree that it was

incorrect.      See Harrington, 562 U.S. at 101.                     Although this is

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sufficient     to    resolve   the   petitioner’s    ineffective         assistance

claim, the court, as the SJC did, also considers the second

Strickland prong for the sake of completeness.

      d.      Prejudice to the Petitioner

      The SJC articulated two reasons why Spring’s testimony about

Garnham’s alleged confession “likely would not have influenced the

jury’s conclusion.”         Lopez, 151 N.E.3d at 382.       First, even if the

jury believed Garnham’s confession, that would not have exculpated

the petitioner, who was charged as a joint venturer in the murder.

Id.        Under    that   theory,    “the   Commonwealth       needed    only    to

demonstrate that the [petitioner] was engaged with others in the

attack with the requisite intent.” Id. Second, Spring’s testimony

“would have been cumulative to evidence that the defense had

presented at trial demonstrating that Garnham was involved in the

attack     and,     more   specifically,     that   he   told    others     of   his

involvement.”        Id. at 382-83.    This evidence included

      testimony   from   Lawrence   suggesting  that   Garnham
      allegedly disposed of a knife after the stabbing, . . .
      testimony from an investigator that in the days
      afterward Garnham cut his hair and then left the State[,
      . . . and] two witnesses who testified that Garnham made
      several statements implicating himself in the attack.

Id. at 383 n.14.           The petitioner also presented testimony from

Garnham’s brother, who testified that (1) Garnham told him that he

was the one who killed the victim and that the other attackers

thought he was just punching the victim in the head; (2) Garnham


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burned the clothes he was wearing after the attack because they

were bloody; (3) he was the one who gave Garnham the alleged murder

weapon, which he identified at trial; and (4) Garnham cut his hair

days after the murder and just before being interviewed by the

police.   (Dkt. No. 13-1, p. A.234, ¶ 8).

     There was no question that the petitioner was engaged with

others in the attack.     Although the two eyewitnesses differed on

whether they saw two or three attackers, both testified that only

one of the attackers wore white.        Lopez, 151 N.E.3d at 382 n.13.

The petitioner wore a white t-shirt during the attack; Cruz and

Garnham both wore dark shirts.     Id. at 373 n.3, 382 n.13.        Perhaps

for that reason the petitioner here focuses on intent, arguing

that evidence that Garnham, not the petitioner, was the one who

stabbed the victim would cast doubt on whether the petitioner had

the specific intent to kill the victim.       This was the petitioner’s

entire defense at trial, and he introduced ample evidence to

support it.   Nonetheless, the jury found the petitioner guilty of

first-degree murder.

     The only explanation the petitioner offers as to how Spring’s

testimony might have changed the outcome of the trial is that

Spring,   unlike   the   petitioner’s   other   witnesses,    was      wholly

disinterested, and so the jury would have been more likely to

credit her testimony.     However, there is no clear indication that

the jury did not believe the other witnesses.        In that regard, the

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verdict is entirely consistent with a finding that Garnham was the

one   who    stabbed   the   victim,    but    the   petitioner     nonetheless

participated in the attack with the requisite intent.                 Under the

circumstances, the absence of one witness’s duplicative testimony,

however credible, does not “undermine confidence in the outcome”

of the trial, Johnston, 871 F.3d at 64, and the SJC’s decision on

that point is hardly outside the bounds of reasonableness.                     See

Harrington, 562 U.S. at 101.

        As a final point, the petitioner’s apparent presumption that

the prosecution was required to show a specific intent to kill as

opposed to some other act is not correct.                 Under Massachusetts

law, the intent required for murder is “an intent to cause death,

to cause grievous bodily harm, or to do an act which, in the

circumstances known to the defendant, a reasonable person would

have known created a plain and strong likelihood that death would

follow.”     Commonwealth v. Castillo, 153 N.E.3d 1210, 1217 (Mass.

2020)    (internal     quotation    marks     omitted).       The   evidence    is

uncontroverted that the petitioner intended to and did at a minimum

inflict     grievous    bodily   harm    on   the    victim   by    beating    him

unconscious.       Indeed, the jury found that the respondent acted

with “extreme atrocity or cruelty” in carrying out the attack.

Lopez, 151 N.E.3d at 372.          In any event, the petitioner fails to

explain why it would matter that the jury, with the benefit of

Spring’s testimony, might not have found that he specifically

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intended to kill the victim given the inescapable evidence that he

at least intended to cause the victim grievous bodily harm.                   It

seems clear, then, that Spring’s absence did not meaningfully

prejudice the petitioner.

        3.     Admission of Joint Venturer’s Statements

        Finally, the petitioner takes issue with the admission at his

trial of two statements Cruz made, one shortly before the murder

and one immediately after.          Specifically, an eyewitness testified

that, as the petitioner and another man (later identified as Cruz)

chased the victim around the parking lot, Cruz shouted, “Is that

him?     Is that him?       Get him.”     Id. at 373.   That same eyewitness

testified that later, as the victim fell to the ground, he heard

Cruz ask the petitioner, “Did you get him?              Did you get him?” and

heard the petitioner respond, “Yes I got him.” 7 Id. The petitioner

argues that the trial court erred in admitting Cruz’s statements

as coventurer statements and thereby violated his Sixth Amendment

right “to be confronted with the witnesses against him.”                    U.S.

Const.       amend.   VI.     He   also   argues   that,   by   admitting   the

statements, the trial court deprived him of a fair trial, and thus

of due process.         The respondent asserts that this claim is not

properly exhausted and that, in any case, the trial court’s ruling




7   The petitioner does not challenge the admission of his own statement.

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was   correct,    as    was   the    SJC’s     affirmance.   The    petitioner’s

argument fails for several reasons.

      First, the petitioner arguably has not exhausted this claim.

“In order to promote principles of comity and federalism, ‘a

federal court will not entertain an application for habeas relief

unless the petitioner first has fully exhausted his state remedies

in    respect    to    each    and    every     claim   contained   within    the

application.’”         Fusi v. O’Brien, 621 F.3d 1, 5 (1st Cir. 2010)

(quoting Adelson v. DiPaola, 131 F.3d 259, 261 (1st Cir. 1997)).

The SJC explicitly noted that, in his direct appeal, the petitioner

“d[id] not challenge the admission of Cruz’s statements on the

ground that they were testimonial statements the admission of which

violated the [petitioner’s] right to confront witnesses against

him.”   Lopez, 151 N.E.3d at 373 n.4.             The petitioner contends that

he nonetheless fairly presented the issue in his brief to the SJC

because    “he   identified         the   federal    constitutional   right    of

confrontation and its Sixth Amendment guarantee and cited two

federal constitutional precedents[.]”               (Dkt. No. 19, Petitioner’s

Reply Brief, p. 14).          This is something of an overstatement.

      The thrust of the petitioner’s argument to the SJC on this

issue was that the trial court erred in admitting Cruz’s statements

under Massachusetts evidentiary law.              He only mentioned the Sixth

Amendment in the final paragraph of his argument, and then only as

a means of explaining why the allegedly erroneous evidentiary

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decision    was   prejudicial.       Notwithstanding    the   petitioner’s

perfunctory gesturing toward the Sixth Amendment and a pair of

Supreme Court decisions (one presented through the lens of an SJC

decision citing it), it is hardly clear that this one sentence, in

context, should have sufficed to alert the SJC that the petitioner

was raising a federal Confrontation Clause claim above and beyond

his state-law evidentiary claim.          See Baldwin v. Reese, 541 U.S.

27, 29 (2004) (petitioner “must ‘fairly present’ his claim in each

appropriate state court . . . , thereby alerting that court to the

federal nature of the claim”).         But see Barresi v. Maloney, 296

F.3d 48, 52 (1st Cir. 2002) (petitioner may fairly present a

federal    constitutional   issue    through,   inter   alia,   “citing   a

specific provision of the Constitution [or] reliance on federal

constitutional precedents”).        Ultimately, though, this court need

not dwell on the exhaustion issue because the claim clearly fails

for other reasons.    See 28 U.S.C. § 2254(b)(2).

     In that regard, although the petitioner presents this claim

as a federal constitutional issue, it in reality asserts a claim

that the SJC (and the trial court) erred in applying state law to

resolve an evidentiary issue and is thus not cognizable on habeas

review.    The petitioner acknowledges that the Confrontation Clause

“does not bar the use of a co-conspirator statement made in

furtherance of the conspiracy and admissible under a traditional

hearsay exception.” (Dkt. No. 13, p. 27); see Davis v. Washington,

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547   U.S.    813,    821       (2006)   (Confrontation        Clause    only   covers

“testimonial statements”); Crawford v. Washington, 541 U.S. 36, 56

(2004); (statements made “in furtherance of a conspiracy” are

nontestimonial       by     nature).       Rather,      the    petitioner’s     entire

argument is that the SJC erred in deciding that Cruz’s statements

qualified as coventurer statements and that, absent the coventurer

exemption, the statements were testimonial.                   As such, the argument

focuses      entirely       on    the    SJC’s     alleged       misapplication     of

Massachusetts law on hearsay exemptions.                      This court is neither

inclined     nor     empowered      to   reconsider      the     SJC’s   rulings    on

Massachusetts law.          See Estelle, 502 U.S. at 67-68 (“[I]t is not

the province of a federal habeas court to reexamine state-court

determinations on state-law questions.”).                      Put more simply, an

alleged misapplication of state law does not entitle the petitioner

to habeas relief.         See 28 U.S.C. § 2254(d). 8

      Finally, even assuming arguendo that Cruz’s statements did

not    qualify       as      coventurer         statements,       the    statements,

notwithstanding           his     contention       to     the      contrary,       were



8 In any case, the petitioner’s arguments on this point lack merit.    He argues
that (1) the Commonwealth did not show the intent to kill required to establish
a joint venture and (2) Cruz’s second statement (“Did you get him?”) was made
after the crime was completed, and thus not in furtherance of the alleged joint
venture. As discussed above, there was ample evidence that the petitioner and
Cruz at least intended to cause the victim grievous bodily harm, which is
sufficient intent for murder.    As to the petitioner’s second argument, Cruz
made this inquiry before he and the petitioner fled the scene, apparently
intending to confirm that the joint venture had achieved its objective. Such
a statement was clearly made in furtherance of the joint venture notwithstanding
the fact that no one was actively attacking the victim by that point.

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nontestimonial in nature and did not implicate the Confrontation

Clause.      See Davis, 547 U.S. at 821 (citing Crawford, 541 U.S. at

51;    The    Confrontation    Clause         only   applies   to    “testimonial

statements.”).     A statement is testimonial if it is “procured with

a primary purpose of creating an out-of-court substitute for trial

testimony.”      Michigan v. Bryant, 562 U.S. 344, 358 (2011); see

Ohio v. Clark, 576 U.S. 237, 246 (2015) (finding statements were

nontestimonial because they were “clearly not made with the primary

purpose of creating evidence for [the defendant’s] prosecution”).

“The determination as to whether a statement is testimonial is an

“objective[]     evaluat[ion       of]   the    circumstances       in   which   the

encounter occurs and the statements and actions of the parties.’”

United States v. Estes, 985 F.3d 99, 103 (1st Cir. 2021) (quoting

Bryant, 562 U.S. at 359) (alterations in original).                      Under the

primary purpose test, statements made to private individuals “are

much   less    likely   to    be   testimonial       than   statements     to    law

enforcement officers.”        Clark, 576 U.S. at 246.

       Cruz made two sets of statements: one while the petitioner

was chasing the victim around the parking lot and one as the victim

fell immediately after the stabbing.             Nothing Cruz said identified

the petitioner or laid out the facts of the murder in any way that

would resemble trial testimony.           Indeed, Cruz’s remarks consisted




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entirely of questions and commands, not statements of fact. 9               His

statements were made during and in furtherance of the attack on

the victim.     Furthermore, there were no law enforcement officers

present at the time, placing this case well outside the heartland

of Supreme Court Confrontation Clause jurisprudence, which most

often    concerns    statements     made    to   law     enforcement     during

questioning.     See, e.g., Bryant, 562 U.S. at 349; Davis, 547 U.S.

at 817-21; Crawford, 541 U.S. at 38-41.                  Instead, Cruz made

spontaneous, unsolicited statements to private individuals.                 See

Clark, 576 U.S. at 246.       Moreover, the facts suggest that Cruz may

not have even been aware of the witnesses who ultimately testified

as to what he said.        The petitioner makes no effort to explain

how, under these circumstances, Cruz’s statements could possibly

have been “create[ed as] an out-of-court substitute for trial

testimony.”     See Bryant, 562 U.S. at 358.

      For all these reasons, the petitioner is not entitled to

relief on his Confrontation Clause claim.              As to his related due



9 For this reason, Cruz’s statements likely are not hearsay in the first place.
See United States v. Diaz, 670 F.3d 332, 346 (1st Cir. 2012) (“Out-of-court
statements providing directions from one individual to another do not constitute
hearsay.”); United States v. Thomas, 451 F.3d 543, 548 (8th Cir. 2006)
(“Questions and commands generally are not intended as assertions, and therefore
cannot constitute hearsay.”); United States v. Wright, 343 F.3d 849, 865 (6th
Cir. 2003) (“[A] question is typically not hearsay because it does not assert
the truth or falsity of a fact.”); United States v. Vest, 842 F.2d 1319, 1330
(1st Cir. 1998) (quoting Fed. R. Evid. 801(c)) (“[W]hat Waters said in the
recorded conversation was not hearsay at all. . . . [H]is statements were merely
questions to Davis, and were not ‘offered . . . to prove the truth of the matter
asserted.’”); Bolen v. Paragon Plastics, Inc., 754 F. Supp. 221, 225 (D. Mass.
1990) (“According to the very definition of hearsay, an inquiry is not an
assertion, and therefore does not constitute hearsay.”).

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process claim, the petitioner makes no attempt to explain how the

state court’s evidentiary ruling “was so arbitrary or capricious

as to constitute an independent due process . . . violation.”

Lewis v. Jeffers, 497 U.S. 764, 780 (1990).           The only argument the

petitioner offers on this point is that the state court committed

“a due process violation by depriving him of his confrontation

right    and,   in   turn,   offend[ing]    a   fundamental     principle    of

justice.”     (Dkt. No. 13, p. 30).      Because, as explained above, the

petitioner’s Confrontation Clause argument fails, any due process

argument dependent on a violation of his confrontation rights

necessarily also fails.

VI.   CONCLUSION

      For the foregoing reasons, the Petition for a Writ of Habeas

Corpus should be DENIED. 10



                                           /s/ Donald L. Cabell
                                           DONALD L. CABELL, U.S.M.J.

DATED:     October 6, 2023

10The parties are hereby advised that under the provisions of Federal Rule of
Civil Procedure 72(b), any party who objects to this recommendation must file
specific written objections thereto with the Clerk of this Court within 14 days
of the party's receipt of this Report and Recommendation.           The written
objections must specifically identify the portion of the proposed findings,
recommendations, or report to which objection is made and the basis for such
objections. The parties are further advised that the United States Court of
Appeals for this Circuit has repeatedly indicated that failure to comply with
Rule 72(b) will preclude further appellate review of the District Court's order
based on this Report and Recommendation. See Keating v. Secretary of Health
and Human Servs., 848 F.2d 271 (1st Cir. 1988); United States v. Emiliano
Valencia-Copete, 792 F.2d 4 (1st Cir. 1986); Park Motor Mart, Inc. v. Ford Motor
Co., 616 F.2d 603 (1st Cir. 1980); United States v. Vega, 678 F.2d 376, 378-
379 (1st Cir. 1982); Scott v. Schweiker, 702 F.2d 13, 14 (1st Cir. 1983); see
also Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L.Ed.2d 435 (1985).

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